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        Case 2:09-cr-00558-SDW       Document 116       Filed 10/21/10    Page 1 of 2 PageID: 371




                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF EW JERSEY

         uNITT) STATES OF AMERICA                     Hon.   Dickinson P.. Debevoise

                                                      Crim, No.    09-558     (DRD)

         RASHAWN BILI,UPS                         ;   CONTINUANCE QRDEI
                a/k/a Rashawn Bond,”
                a/k/a “Shawny”

                                                                         joint
                         This matter having come before the Court on the

                                                       Attorney for the
          application of Paul J. Pihman, United States
                                                            U.S. Attorney,
          District of New Jersey (Idea N. Colone, Assistant
                                                                (Roy Creenman,           F.sq -,
          appearing),      and defendant Rashawri Billups

          appearing)      for an order granting a continuance of the proceedings

                                                              January 16,
          in the above-captioned matter through and including
                                                                         to have
          2G11,      and the defendant being aware that he has the right
                                                             date of his
          the tiatLer brought to trial within 70 days of the
                                                             pursuant to
          appearance before a judicial officer of this court

                                                Code,    Section 3161 (C) (1),          and as
          Title 18 of the United       States

                                                                     for good
              the defendant has consented to such a continuance, and

              and cuff icicnt cause shown,

                         IT IS THE FINDIN4 OF THIS COURT that this action should

              be continued tor the following reasons

                         1.   Plea negotiations are currently in progress, arid

              both the United States and the defendant desire additional time
                                                                     of this
              to finalize a plea agreement, which would render trial

              matter unnecessary;
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      Case 2:09-cr-00558-SDW         Document 116        Filed 10/21/10    Page 2 of 2 PageID: 372




                      2.   Defendant has consented to the aforementioned

       continuance;

                      3.   Lurcuant to Title ia of the United States Code,

       Section      3161(h) (8),   the ends of justice served by granting the

       continuance outweigh the best interests of the public and the

       defendant in a speedy trial.
                                                  ,i
                      WWEREFORE,    on this   -            day of October, 2010,

                      IT IS ORDERED that this action be, and hereby is,

       continued throug’h and including January 16,                2011; and it is

       further

                      ORDERED that the period from and including’ October 15,

       2010, through and including January 16,                2011,   shall be excludable

       in computing time under the Speedy Trial Act of 1974, pursuant to

       Title 18,      United States Code, Section 3161(h) (8); and it is

       further

                      ORDERED that the calendar for this matter shall be

           revised as fo-ilows:

                                                       Motions hearing                          2
                                                                            4            1’

                                                       Trial: Tues, Jaary u:. 2011




                                                       MON. DICKINSON R. DEBEVOISE
                                                       United States District Judge



               iv
           Roy G’eeflman, Esq.
           Counsel for Rashawn Billups




                                                                                                        T0TL F. 03
